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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                   )   MDL 2804
 OPIATE LITIGATION                              )
                                                )   Case No. 1:17-md-2804
 THIS DOCUMENT RELATES TO:                      )
                                                )   Judge Dan Aaron Polster
 PBM Cases                                      )
                                                )   ORDER
                                                )




       Before the Court is Defendant OptumRX, Inc.’s and Defendant Express Scripts, Inc.’s (the

“PBMs”) Motion to Disqualify Special Master Cohen. Docket no. 5196. Special Master Cohen

filed an affidavit in response to the PBMs’ motion. Docket no. 5198. Plaintiffs filed a response.

Docket no. 5207. The PBMs filed a reply. Docket no. 5214. For the reasons below the PBMs’

motion is DENIED.


                                          Introduction


       Special Master Cohen was selected by the Court at the outset of this MDL upon the

recommendation of both Plaintiffs and Defendants. He and his team have done incredible work

over nearly six years in assisting the Court in managing both the litigating and settlement tracks

of what has been called the most complex litigation in history. He has been particularly valuable

as a discovery and privilege special master, and he has been called upon to issue countless legal

rulings. While both Plaintiffs and Defendants have exercised their right to appeal a number of

these rulings to the Court, no party has ever even hinted that Special Master Cohen has been biased
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or prejudiced against them. Indeed, all the other major litigating defendants and the PEC agreed

just a few days ago that Special Master Cohen should oversee all the global tribal settlements. See

Motion for Proposed Agreed Order Designating Special Master Pursuant to Global Tribal Opioid

Settlement Agreements, docket no. 5211.


                                           Background


       On Monday, August 28, 2023, at 12:50 PM, in response to having received and reviewed

emailed status reports, Special Master Cohen inadvertently replied to all recipients with personal

notes intended only for himself. Motion Ex. A at 1, docket no. 5196-2. At 1:12 PM (22 minutes

later) upon realizing his error, Special Master Cohen attempted to claw back the email containing

his mental impressions by requesting that the parties “discard and disregard” the prior email.

Motion Ex. B at 1, docket no. 5196-3. On Tuesday, August 29, 2023, at 5:43 PM, counsel for

OptumRx, on behalf of both PBM defendants, replied to Special Master Cohen that they “cannot

agree to your request to discard or disregard it.” Motion Ex. C at 4, docket no. 5196-4.

       Instead, during an August 30, 2023 status conference, the PBMs asked the Court to

disqualify Special Master Cohen. See Motion Ex. D at 37:13–45:25, docket no. 5196-5. During

that conference, the Court stated it would not disqualify the Special Master. The Court made clear

that the Special Master’s email “doesn’t in any way, shape, or form indicate that he’s biased or

prejudice[d against] anything,” id. at 38:18–20, and that “[i]t’s up to Special Master Cohen whether

he recuses himself.” Id. at 41:17–18. On September 7, 2023, in response to a request from the

PBMs to voluntarily disqualify himself, Special Master Cohen declined to recuse. Motion Ex. C

at 1, docket no. 5196-4. The PBMs then filed the instant motion to disqualify the Special Master.




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        The Special Master’s Private Thoughts Were Privileged Judicial Deliberations


         Special Master Cohen’s email, which consisted entirely of his own mental impressions,

personal notes, and private musings about the submitted status reports, was unquestionably a

privileged judicial deliberative memorandum to himself. As such, it is an improper basis upon

which to even raise an argument about perceived partiality.

         In the American legal system, “it is essential that a lawyer work with a certain degree of

privacy.” Hickman v. Taylor, 329 U.S. 495, 510 (1947). “It is no exaggeration to say that the

integrity of judicial proceedings depends on the inviolability of internal deliberation.” U.S.

Supreme Court, Statement of the Court Concerning the Leak Investigation 1 (Jan. 19, 2023)

(available at https://www.supremecourt.gov/publicinfo/press/Dobbs_Public_Report_January_

19_2023.pdf.). The sacrosanct character of an attorney’s personal thoughts and mental impressions

is also reflected in our Federal Rules of Evidence and our Federal Rules of Civil Procedure. See

Fed. R. Evid. 502(b) (non-waiver of privilege when privileged material is inadvertently produced);

Fed. R. Civ. P. 26(b)(5)(B) (providing for clawback of inadvertently produced privileged material).

         For the judicial system to function, judges must view the arguments presented to them with

an appropriate degree of skepticism. If judges were subject to accusations of bias and potential

disqualification based solely on private, skeptical thoughts about a party’s position, there could be

no judges. Therefore, disqualification based on the appearance of partiality under 28 U.S.C.

§455(a) must be based on a judge’s outward conduct, not his or her private thoughts.1



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  The law applicable to judges applies equally to special masters, who serve in a quasi-judicial capacity. See Fed. R.
Civ. P. 53(a)(2); see also Motion at 9 (citing Guardian Pipeline, LLC v. 950.80 Acres of Land, 525 F.3d 554, 556
(7th Cir. 2008).



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        This common-sense premise is illustrated in the cases cited by the PBMs. For example, in

Ligon v. City of New York, the Second Circuit reached the following conclusion:

        We emphasize at the outset that we make no findings of misconduct, actual bias, or
        actual partiality on the part of Judge Scheindlin. Following our review of the record,
        however, we conclude that her conduct while on the bench, which appears to have
        resulted in these lawsuits being filed and directed to her, in conjunction with her
        statements to the media and the resulting stories published while a decision on the
        merits was pending and while public interest in the outcome of the litigation was
        high, might cause a reasonable observer to question her impartiality. For this
        reason, her disqualification is required by section 455(a).

736 F.3d 118, 124 (2d Cir. 2013) (per curiam), vacated in part on other grounds, 743 F.3d 362

(2d Cir. 2014) (emphasis added); see also In re Nat’l Prescription Opiate Litig., 2019 WL

7482137, at *2 (6th Cir. Oct. 10, 2019) (quoting United States v. Microsoft Corp., 253 F.3d 34,

112 (D.C. Cir. 2001)) (“A judge improperly comments on the merits of a case when he publicly

‘disclose[s] his views on the factual and legal matters at the heart of the case[,] . . . the credibility

of witnesses, the validity of legal theories, the culpability of the defendant, the choice of remedy,

and so forth.”) (emphasis added).

        Here, the PBMs repeatedly and misleadingly attempt to convert the Special Master’s

private thoughts into public comments by referring to his email as “remarks.” See, e.g., Reply at

5. They were not. Because the PBMs do not and cannot identify any conduct or public statements

by the Special Master that could conceivably appear biased, they rely instead on his private mental

impressions to which they ought not have had access and should have destroyed at Special Master

Cohen’s request. See CMO-2 at 25, ¶54, docket no. 441 (“If a Party or non-Party discovers that it

has produced Privileged Information, it shall promptly notify the Receiving Party of the production

in writing, shall identify the produced Privileged Information by Bates range where possible, and




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may demand that the Receiving Party return or destroy the Privileged Information.”) (emphasis

added).2

         In their reply, the PBMs assert that Special Master Cohen never asserted a claim of

privilege over his email. However, the Court finds that by: (1) quickly sending a follow-up email

stating that his email was for “[his] own files, and not to counsel,” and (2) clearly following a

procedure similar to that for inadvertent production of privileged information set forth in this

Court’s protective order, the Special Master asserted privilege over his email. No magic words

were necessary, and the Special Master’s follow-up email can only be construed as a claim of

privilege and an invocation of the clawback provision of CMO-2. Further, paragraph 54 of the

Court’s protective order also places a burden on a receiving party. It states: “In the event that a

Receiving Party receives information that it believes is subject to a good faith claim of privilege

by the Designating Party, the Receiving Party shall immediately refrain from examining the

information and shall promptly notify the Designating Party in writing that the Receiving Party

possesses potentially Privileged Information.” Id. at 25, ¶54. Although the Court’s protective order

does not expressly apply to the Special Master, it describes a standard of professional conduct in

a very closely analogous situation that the PBMs could have and should have followed. The PBMs

chose not to.




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  Presumably, the PBMs will, at some point in these proceedings, want to take advantage of this common claw-back
provision provided by the Court’s protective order. It seems hypocritical, therefore, for the PBMs not to extend a
similar courtesy to the Special Master. The Court also notes that, were the email from opposing counsel rather than
the Special Master, and the PBMs responded that not only would they not allow counsel to claw back their
inadvertent disclosure but intended to use it to attempt to gain some tactical advantage in ligation, such conduct
could be the subject of a motion for sanctions.



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       The PBMs also assert that the Special Master waived the privilege by filing an affidavit on

the docket addressing the contents of the email and discussing the issue with a reporter. However,

the timeline of events belies their argument. The PBMs, themselves, elected to discuss the emails

in a conference on the record—the transcript of which is publicly available—on August 30, 2023,

before the Special Master privately presented the parties with his affidavit on September 7, 2023

and after he attempted to claw the private notes back. The PBMs also excerpted the Special

Master’s email in their publicly filed motion on September 19, 2023, which occurred before either

the September 20, 2023 news article or the Special Master filed his updated affidavit on the public

docket on September 21, 2023. Moreover, it does not appear the Special Master “spoke to the

press” about the substance of his email, as the PBMs assert in their Reply. Compare Reply at 6–9,

with Reply Ex. B at 2 (explaining that Special Master Cohen “deferred to his affidavit in lieu of

commenting” to the press). Regardless, none of these assertions change the fundamental character

of the inadvertently emailed private notes from mental impressions to judicial conduct.


        No Reasonable Observer Could Question the Special Master’s Impartiality


       As this Court stated on the record during the August 30th conference, there is simply no

merit to the PBM’s allegation of bias: real, implied, or perceived. From the opening phrase of the

Special Master’s email, “Notes on D’s position,” it is clear to any but the most unreasonable

observer that the email: (1) contained Special Master Cohen’s private mental impressions, and (2)

were abbreviated notes lacking full context.




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         In their motion, the PBMs spend a good deal of attention on one passage from the Special

Master’s email in particular—that the PBMs “knew a lot.”3 Despite the ink dedicated to this

passage, the PBMs never explain how a reference to the amount of information they may or may

not have about the opioid crisis might be perceived as prejudgment of the merits of any claim or

defense in any case before this Court. These conclusory allegations are insufficient to demonstrate

even a perception of bias.

         The PBMs also imply that the Special Master’s use of the word “knew” suggests a specific

mens rea. See Motion at 11 (citing to multiple paragraphs of one of Plaintiffs’ complaints that

contain mens rea language). This tortured construction of Special Master Cohen’s five-word

parenthetical strains credulity. It takes out of context three words of the Special Master’s email

that itself lacks context because it was intended as a personal note to himself. “Knowing a lot” and

“knowingly behaving in way that could subject a person to liability” are fundamentally different

and easily distinguishable, even to a lay reader. Attempts to apply linguistic canons of construction

to a person’s shorthand notes is a fool’s errand. No reasonable observer could possibly construe

Special Master Cohen’s language as demonstrating a disqualifying bias against the PBMs.

         Just as the PBMs read too much into the phrase “knew a lot,” they do the same with

virtually every other word of the Special Master’s email. For example, they take the word

“amendment” from the first line (“whether amendment is allowed”) and conclude that what the

Special Master really means is: “the Court should ‘just allow’ the PEC to amend thousands of


3
  In its response, the PEC alludes to preliminary research, and whether such research is proper. Response at 4. The
Court disagrees with this characterization of the Special Master’s affidavit. The affidavit makes clear that the only
research Special Master Cohen has done into the PBMs is to carefully review cited references contained in status
reports submitted earlier to the Court. This does not constitute independent research and is entirely proper. See
Affidavit ¶13 at 3–4.



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complaints without any briefing.” Reply at 6 (emphasis added). That is simply not a reasonable

interpretation. Courts “must be careful not to rewrite what the judge has said and render

unreasonable the clearest and most obvious reading of the language.” United States v. Antar, 53

F.3d 568, 577 (3d Cir. 1995), overruled in part on other grounds, Smith v. Berg, 247 F.3d 532 (3d

Cir. 2001).

        The Court has never considered setting thousands of bellwether trials against PBMs, nor

amendment of thousands of cases. In fact, the Court has explicitly told the parties it would allow

amendments only of the small number of cases eventually selected as bellwethers and would do

so because the Sixth Circuit has already ruled on that issue. See, e.g., Motion Ex. D at 6:4–7 (“the

Sixth Circuit has clearly said that because of my initial order[, . . .] plaintiffs could amend

complaints if a case is selected as a bellwether.”) (emphasis added) (referring to In re: Nat’l

Prescription Opiate Litig., Case No. 21-4051, 2022 WL 20701236, at *2 (6th Cir. Nov. 10, 2022)

(MDL docket no. 4747) (holding that, because “[this MDL Court’s] scheduling order allowed

plaintiffs to amend whenever their case was selected as a bellwether, . . . the scheduling order did

not clearly violate Rule 16 because it provided some limit (when a case was selected as a

bellwether).”); see also id. at 12:24 (the Court stating: “conversely, to say that the plaintiffs should

go ahead and amend complaints in hundreds of cases, that doesn’t make sense”).

        Similarly, the PBMs take exception to the Special Master’s thoughts on the best number of

bellwether cases, insisting his comments show he is trying to “coerce” them into global settlement.

Motion at 12; Reply at 6. In fact, the note more probably suggests the opposite: that Special Master

Cohen was concerned with premature single-case settlements that would short-circuit the

bellwether process. The most obvious interpretation of Special Master Cohen’s note—that he



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“think[s] we need 4 bellwethers, not 2 [because] it is too easy for Ds to buy off 2 Ps,4 avoiding any

global resolution”—is simply that if there are only two bellwether cases and both settle, the parties

will be left with no live cases and insufficient data to meaningfully engage in global settlement

discussions. As to “buying off” plaintiffs, it is public knowledge that Defendants that settle

bellwethers in this MDL have paid a huge premium (e.g., in the Track 1 bellwether in October

2019, four defendants paid a total of $235.4 million, many multiples of what the bellwether

plaintiffs would have received under the subsequent global settlements).

         The Special Master’s note is not a prejudgment of the merits of any claim and carries no

hint of coercion. As the Sixth Circuit held earlier in this case, “[Judge Polster] pushed for

settlement not because he had prejudged the case, but because that was the most expedient way to

conclude the dispute. Judges in complex litigation are encouraged to pursue and facilitate

settlement early in a variety of ways.” In re Nat’l Prescription Opiate Litig., Case No. 19-3935,

2019 WL 7482137, at *3 (6th Cir. Oct. 10, 2019) (citing Bell v. Johnson, 404 F.3d 997, 1006 (6th

Cir. 2005), and Manual on Complex Litigation § 13.1, pp. 167−68 (4th ed. 2004)). As of today,

there have been over a dozen global settlements announced, totaling approximately $55 billion.

         Ultimately, Special Master Cohen’s private notes, when read objectively as a whole,

demonstrate his even-handedness. It is notable that the PBMs ignore the Special Master’s

statements that favor the PBMs’ positions. See, e.g., Motion Ex. A at 1 (“I have some sympathy

for the PBMs’ argument . . ..”); id. (“let PBMs [add third parties] as they wish”); see also Affidavit

¶14 at 4. The Sixth Circuit has refused to read a judge’s statements stripped of context in that way.


4
 Obviously, if the Special Master knew his notes would become the subject of public scrutiny, he might have
chosen a more diplomatic phrase than “to buy off,” but it is not this Court’s role (nor that of the PBMs) to police the
manner in which the Special Master makes notes for himself.



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See In re Nat’l Prescription Opiate Litig., Case No. 19-3935, 2019 WL 7482137, at *3 (6th Cir.

Oct. 10, 2019). (“Read in isolation, Judge Polster’s statements to the press and in court might call

into question his impartiality. But we must take his statements in context.”) (emphasis added).

Reading Special Master Cohen’s email as a whole, the Court finds it represents an even-handed

consideration of the matters before the Court.

       Finally, it is not clear what the PBMs hope to gain through this motion. Should Special

Master Cohen be disqualified from doing any further work on PBM cases, the Court will suggest

to the JPML that it immediately remand all of these cases from the MDL, rather than attempt to

proceed without the assistance of a special master. The Court’s present intention is to retain

jurisdiction over the PBM bellwethers to oversee discovery and dispositive motions, and then to

request remand when they are trial ready. This is the procedure the Court has employed for all

other bellwethers in this MDL. It saves the parties the enormous time and expense of litigating the

same issues in front of four different judges and risking inconsistent rulings. And it spares each of

those four busy judges a great deal of extra work. It is only with the assistance of Special Master

Cohen and his team that the Court would have the capacity to handle the great burden entailed in

managing discovery and motion practice in four very complicated bellwether cases.

       The PBMs cursorily offer the possibility of replacing the Special Master. See Motion at 3

n.1. However, it would take years for any new master to review and familiarize themselves with

the MDL docket, the Court’s rulings, the discovery rulings, the procedural history, the parties, the

settlements, and many other elements of this mature and extraordinarily complex MDL.

Attempting to introduce a new special master, even just to the PBMs’ portion of this MDL, would

only complicate and delay these MDL proceedings.



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                                          Conclusion


       Accordingly, for the reasons described above, the Court finds that Special Master Cohen’s

personal notes should have been protected rather than exploited; and regardless, no reasonable

observer could question the Special Master’s impartiality based on his inadvertently circulated

email. The PBMs’ motion to disqualify the Special Master is DENIED. The PBMs are ordered to

discard and disregard the Special Master’s email as he requested.

              IT IS SO ORDERED.




                                                /s/ Dan Aaron Polster_October 10, 2023_
                                                DAN AARON POLSTER
                                                UNITED STATES DISTRICT JUDGE




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